                   Case 17-17189-LMI     Doc 57   Filed 12/19/17   Page 1 of 2
                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                                                               CASE NO.: 17-17189-BKC-LMI
                                                             PROCEEDING UNDER CHAPTER 13

IN RE:

DAYSI DIAZ

_____________________________/
DEBTOR

                    NOTICE OF CONTINUED CONFIRMATION HEARING

   YOU ARE HEREBY NOTIFIED that the Confirmation Hearing has been continued to January 09,
2017 at 01:35 pm at UNITED STATES BANKRUPTCY COURT, C. CLYDE ATKINS UNITED
STATES COURTHOUSE, 301 NORTH MIAMI AVENUE, COURTROOM 8, MIAMI, FL 33128 .

   I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Continued
Confirmation Hearing was mailed to those parties listed below on this 19th day of December, 2017.




                                                     /s/ Nancy K. Neidich
                                                    _____________________________________
                                                     NANCY K. NEIDICH, ESQUIRE
                                                     STANDING CHAPTER 13 TRUSTEE
                                                     P.O. BOX 279806
                                                     MIRAMAR, FL 33027-9806
               Case 17-17189-LMI   Doc 57   Filed 12/19/17   Page 2 of 2
                                                  NOTICE OF CONTINUED CONFIRMATION HEARING
                                                                    CASE NO.: 17-17189-BKC-LMI

                                   SERVICE LIST

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
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DEBTOR
DAYSI DIAZ
16961 SW 298 STREET
HOMESTEAD, FL 33030

ATTORNEY FOR DEBTOR
CAROLINA A. LOMBARDI, ESQUIRE
LEGAL SERV. OF GREATER MIAMI
4343 W FLAGLER STREET
SUITE 100
MIAMI, FL 33134

CAROLINA A. LOMBARDI, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY
OF THIS NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON
RECEIPT THEREOF.
